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Attorney for Gabriel Vargas-Guerrero



                              UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF CALIFORNIA
United States of America,                               No. 2:13-CR-00412 TLN

              Plaintiff,
                                                        STIPULATION REGARDING
        vs.                                             EXCLUDABLE TIME PERIODS
                                                        UNDER SPEEDY TRIAL ACT;
GABRIEL VARGAS-GUERRERO                                 FINDINGS AND ORDER

              Defendant.


                                           STIPULATION

1.      By previous order, this matter was set for status on October 16, 2014.

2.      By this stipulation, defendant Gabriel Vargas-Guerrero, by and through his undersigned

        counsel, now moves to continue the status conference until December 11, 2014, at 9:30

        a.m., and to exclude time between October 16, 2014 and December 11, 2014, under Local

        Code T4.

3.      The parties agree and stipulate, and request that the Court find the following:

        a)        The government has represented that the discovery associated with this case

                  includes approximately 700 pages of documents and photographs, including

                  investigative reports. All of this discovery has been produced directly to counsel.

        b)        The defendant has requested a plea agreement, which the United States has

                  provided to counsel. Counsel needs additional time to review the agreement as

                  well as the discovery in the case with respect to the terms and factual bases of the
                  agreement, and consult with his client regarding implications for trial.
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         c)     Counsel for defendant desires additional time to consult with his client, conduct
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                investigation and research, review discovery, and to discuss potential resolution
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                with his client.
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         d)     Counsel for defendant believes that failure to grant the above-requested
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                continuance would deny counsel the reasonable time necessary for effective
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                preparation, taking into account the exercise of due diligence.
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         e)     The United States does not object to the continuance.
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         f)     Based on the above-stated findings, the ends of justice served by continuing the
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                case as requested outweigh the interest of the public and the defendant in a trial
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                within the original date prescribed by the Speedy Trial Act.
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         g)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
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                et seq., within which trial must commence, the time period of October 16, 2014
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                and December 11, 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§
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                3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance
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                granted by the Court at defendant’s request on the basis of the Court’s finding that
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                the ends of justice served by taking such action outweigh the best interest of the
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                public and the defendant in a speedy trial.
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 4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the
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         Speedy Trial Act dictate that additional time periods are excludable from the period
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         within which a trial must commence.
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         IT IS SO STIPULATED.
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 Dated: October 14, 2014                               /s/ Dustin D. Johnson
1                                                      DUSTIN JOHNSON
                                                       Counsel for Defendant
9                                                      Gabriel Vargas-Guerrero

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2                      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND ORDER

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p Dated: October 14, 2014                          BENJAMIN B. WAGNER                         p
s                                                  United States Attorney                     s
t                                                                                             t
e                                                                                             e
i                                                  /s/ Dustin D. Johnson for                  i
n                                                  JOSH F. SIGAL                              n

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                                                   Special Assistant United States Attorney   L
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F                                                                                             F
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r                                 FINDINGS AND ORDER                                          r
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    IT IS SO FOUND AND ORDERED this 14th day of October, 2014.
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                                        Troy L. Nunley
f                                       United States District Judge                          f

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                      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND ORDER
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